                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF IOWA
                                EASTERN DIVISION


UNITED STATES OF AMERICA,                        )
                                                 )
             Plaintiff,                          )          No. CR 05-1028 LRR
                                                 )
      vs.                                        )
                                                 )
TERRENCE DAVID ROONEY,                           )
                                                 )
             Defendant.                          )



                           SENTENCING MEMORANDUM



      The United States submits the following information regarding the March 8,

2006, sentencing hearing in this matter:

I.    WITNESSES

      The United States does not anticipate it will call any witnesses at sentencing.

II.   EXHIBITS

      The United States does not anticipate it will offer any exhibits at sentencing

provided the psychiatric evaluation is already considered part of the record.




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III.      CONTESTED ISSUES

          The United States is not aware of any contested issues that will need to be

resolved at sentencing.


                                                      Respectfully submitted,

                                                      CHARLES W. LARSON, SR.
                                                      United States Attorney

    CERTIFICATE OF SERVICE                            By, s/Richard L. Murphy
I certify that I mailed a copy of the foregoing
document to which this certificate is
attached to the parties or attorneys of               RICHARD L. MURPHY
record, shown below, on March 6, 2006.
     UNITED STATES ATTORNEY
                                                      Assistant United States Attorney
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BY: s/ M. Kloubec                                     Cedar Rapids, IA 52401
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